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AO 93C (Rev. 8/18) Warrant by Telephone of Other Reliable Electronic Means (USAO rev. 12/20)               տ Original     տ Duplicate Original



                                             UNITED STATES DISTRICT COURT
                                                                                 for the
                                                                    Central District of California

                         In the Matter of the Search of                             )
                 (Briefly describe the property to be searched or identify the      )
                                 person by name and address)                        )      Case No. 8:21-MJ-00319-DUTY
             Black iPhone 11 Pro, with Serial Number                                )
           MWA62LL/A, and International Mobile Equipment                            )
                    Identity C35CX86RN6XM                                           )
                                                                                    )
                                                                                    )

                WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
To:       Any authorized law enforcement officer
          An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Central District of California (identify the person or describe the property to be searched
and give its location):

       See Attachment A

        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

       See Attachment B

       Such affidavit(s) or testimony are incorporated herein by reference and attached hereto.

          YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance (not to exceed 14 days)
            in the daytime 6:00 a.m. to 10:00 p.m.                      at any time in the day or night because good cause has been established.
       You must give a copy of the warrant and a receipt for the property taken to the person from whom, or from whose
premises, the property was taken, or leave the copy and receipt at the place where the property was taken.


        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to the U.S. Magistrate Judge on duty at the time of the return
through a filing with the Clerk's Office.



Date and time issued:            0D\SP
                                                                                                                 Judge’s signature

City and state:              Santa Ana, CA                                                           Karen E. Scott, U.S. Magistrate Judge
                                                                                                               Printed name and title


AUSA: Jake D. Nare, 213-393-5497
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                                ATTACHMENT A

  PROPERTY TO BE SEARCHED

        The following digital device (the “SUBJECT DEVICE”) seized
  on or about February 20, 2021, and currently maintained in the
  custody of the Costa Mesa Police Department at its office in
  Costa Mesa, California: a Black iPhone 11 Pro, with Serial
  Number MWA62LL/A, and International Mobile Equipment Identity

  (“IMEI”) C35CX86RN6XM.




                                         i
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                                ATTACHMENT B

  I.    ITEMS TO BE SEIZED

        1.    The items to be seized are evidence, contraband,
  fruits, or instrumentalities of violations of Title 21, United
  States Code, Sections 841(a)(1) (Distribution and Possession
  with Intent to Distribute Controlled Substances) and 846
  (Conspiracy to Distribute Controlled Substances) (the “Subject

  Offenses”), namely:
              a.   Records, documents, programs, applications and

  materials, or evidence of the absence of same, sufficient to
  show call log information, including all telephone numbers
  dialed from any of the digital devices and all telephone numbers
  accessed through any push-to-talk functions, as well as all
  received or missed incoming calls;
              b.   Records, documents, programs, applications or
  materials, or evidence of the absence of same, sufficient to

  show SMS text, email communications or other text or written
  communications sent to or received from any of the digital

  devices and which relate to the above-named violations;
              c.   Records, documents, programs, applications or

  materials, or evidence of the absence of same, sufficient to
  show instant and social media messages (such as Facebook,
  Facebook Messenger, Snapchat, FaceTime, Skype, and WhatsApp),
  SMS text, email communications, or other text or written
  communications sent to or received from any digital device and
  which relate to the above-named violations;




                                        ii
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              d.   Records, documents, programs, applications,
  materials, or conversations relating to the trafficking of
  drugs, including ledgers, pay/owe records, distribution or
  customer lists, correspondence, receipts, records, and documents
  noting price, quantities, and/or times when drugs were bought,
  sold, or otherwise distributed;
              e.   Audio recordings, pictures, video recordings, or
  still captured images related to the purchase, sale,

  transportation, or distribution of drugs;
              f.   Contents of any calendar or date book;
              g.   Global Positioning System (“GPS”) coordinates and
  other information or records identifying travel routes,

  destinations, origination points, and other locations; and
              h.   Any SUBJECT DEVICE which is itself or which
  contains evidence, contraband, fruits, or instrumentalities of
  the Subject Offenses, and forensic copies thereof.
              i.   With respect to any SUBJECT DEVICE containing
  evidence falling within the scope of the foregoing categories of
  items to be seized:

                   i.    evidence of who used, owned, or controlled
  the device at the time the things described in this warrant were

  created, edited, or deleted, such as logs, registry entries,
  configuration files, saved usernames and passwords, documents,
  browsing history, user profiles, e-mail, e-mail contacts, chat
  and instant messaging logs, photographs, and correspondence;
                   ii.   evidence of the presence or absence of
  software that would allow others to control the device, such as


                                       iii
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  viruses, Trojan horses, and other forms of malicious software,
  as well as evidence of the presence or absence of security
  software designed to detect malicious software;
                   iii. evidence of the attachment of other devices;
                   iv.     evidence of counter-forensic programs (and
  associated data) that are designed to eliminate data from the
  device;
                   v.      evidence of the times the device was used;

                   vi.     passwords, encryption keys, and other access
  devices that may be necessary to access the device;
                   vii. applications, utility programs, compilers,
  interpreters, or other software, as well as documentation and

  manuals, that may be necessary to access the device or to
  conduct a forensic examination of it;
                   viii.        records of or information about
  Internet Protocol addresses used by the device;
                   ix.     records of or information about the device’s
  Internet activity, including firewall logs, caches, browser
  history and cookies, “bookmarked” or “favorite” web pages,

  search terms that the user entered into any Internet search
  engine, and records of user-typed web addresses.

        2.    As used herein, the terms “records,” “documents,”
  “programs,” “applications,” and “materials” include records,
  documents, programs, applications, and materials created,
  modified, or stored in any form, including in digital form on
  any digital device and any forensic copies thereof.




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  II.   SEARCH PROCEDURE FOR THE SUBJECT DEVICE

        3.    In searching the SUBJECT DEVICE (or forensic copies
  thereof), law enforcement personnel executing this search
  warrant will employ the following procedure:
              a.   Law enforcement personnel or other individuals
  assisting law enforcement personnel (the “search team”) may
  search any SUBJECT DEVICE capable of being used to facilitate

  the above-listed violations or containing data falling within
  the scope of the items to be seized.
              b.   The search team will, in its discretion, either
  search each SUBJECT DEVICE where it is currently located or
  transport it to an appropriate law enforcement laboratory or
  similar facility to be searched at that location.
              c.   The search team shall complete the search of the
  SUBJECT DEVICE as soon as is practicable but not to exceed 120

  days from the date of issuance of the warrant.         The government
  will not search the digital device beyond this 120-day period
  without obtaining an extension of time order from the Court.

              d.   The search team will conduct the search only by
  using search protocols specifically chosen to identify only the

  specific items to be seized under this warrant.
                   i.    The search team may subject all of the data
  contained in each SUBJECT DEVICE capable of containing any of
  the items to be seized to the search protocols to determine
  whether the SUBJECT DEVICE and any data thereon falls within the
  scope of the items to be seized.      The search team may also
  search for and attempt to recover deleted, “hidden,” or


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  encrypted data to determine, pursuant to the search protocols,
  whether the data falls within the scope of the items to be
  seized.
                   ii.   The search team may use tools to exclude
  normal operating system files and standard third-party software
  that do not need to be searched.
                   iii. The search team may use forensic examination
  and searching tools, such as “EnCase” and “FTK” (Forensic Tool

  Kit), which tools may use hashing and other sophisticated
  techniques.
              e.   The search team will not seize contraband or
  evidence relating to other crimes outside the scope of the items

  to be seized without first obtaining a further warrant to search
  for and seize such contraband or evidence.
              f.   If the search determines that a SUBJECT DEVICE
  does not contain any data falling within the list of items to be
  seized, the government will, as soon as is practicable, return
  the SUBJECT DEVICE and delete or destroy all forensic copies
  thereof.

              g.   If the search determines that a SUBJECT DEVICE
  does contain data falling within the list of items to be seized,

  the government may make and retain copies of such data, and may
  access such data at any time.
              h.   If the search determines that the SUBJECT DEVICE
  is (1) itself an item to be seized and/or (2) contains data
  falling within the list of other items to be seized, the
  government may retain the digital device and any forensic copies


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  of the digital device, but may not access data falling outside
  the scope of the other items to be seized (after the time for
  searching the device has expired) absent further court order.
              i.   The government may also retain a SUBJECT DEVICE
  if the government, prior to the end of the search period,
  obtains an order from the Court authorizing retention of the
  device (or while an application for such an order is pending),
  including in circumstances where the government has not been

  able to fully search a device because the device or files
  contained therein is/are encrypted.
              j.   After the completion of the search of the SUBJECT
  DEVICE, the government shall not access digital data falling

  outside the scope of the items to be seized absent further order
  of the Court.
        4.    The review of the electronic data obtained pursuant to
  this warrant may be conducted by any government personnel
  assisting in the investigation, who may include, in addition to
  law enforcement officers and agents, attorneys for the
  government, attorney support staff, and technical experts.

  Pursuant to this warrant, the investigating agency may deliver a
  complete copy of the seized or copied electronic data to the

  custody and control of attorneys for the government and their
  support staff for their independent review.
        5.    The special procedures relating to digital devices
  found in this warrant govern only the search of digital devices
  pursuant to the authority conferred by this warrant and do not




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   apply to any search of digital devices pursuant to any other
   court order.




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                                   AFFIDAVIT

         I, Ronald J. Saar, being duly sworn, declare and state as
   follows:
                             I.     INTRODUCTION

         1.   I am a Special Agent (“SA”) with the Drug Enforcement
   Administration (“DEA”), an agency of the U.S. Department of
   Justice.   I have been so employed since December 2020.         I am
   currently assigned to Los Angeles Field Division (“LAFD”) Orange

   County District Office (“OCDO”).     At the OCDO, I am assigned to
   Enforcement Group-III (“ENF-III”), Los Angeles Field Division.
   ENF-III specializes in Counter-Narcotic Cyber and Dark-Web

   investigations.
         2.   I have received specialized training concerning
   violations of the Controlled Substances Act contained within
   Title 21 of the United States Code, while in the DEA Academy
   located in Quantico, Virginia.     I have also participated in
   several narcotics investigations as a Special Agent.          I have
   debriefed defendants and witnesses who had personal knowledge of

   major narcotics trafficking organizations.      Additionally, I have
   participated in many aspects of narcotics investigations

   including conducting physical surveillance, executing search
   warrants, and conducting arrests.      Based on my training and

   experience, I am familiar with narcotics traffickers’ methods of
   operation including the distribution, storage, and
   transportation of narcotics and the collection of money proceeds
   of narcotics trafficking.      In addition, I received training in,
   and I am familiar with, methods employed by narcotics
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   organizations to thwart detection by law enforcement, including
   the use of debit calling cards, cellular telephones, counter
   surveillance, false or fictitious identities, and encoded
   communications.
         3.   Prior to my employment as a Special Agent with the
   DEA, I was a Police Officer with the New York City Police
   Department for six and a half years.      In that role, I
   participated in the arrest and apprehension of numerous violent

   offenders as well as assisted in the swearing and execution of
   Search Warrants in and around New York City.
                         II.   PURPOSE OF AFFIDAVIT

         4.   This affidavit is made in support of an application
   for a warrant to search a Black iPhone 11 Pro, with Serial
   Number MWA62LL/A, and International Mobile Equipment Identity
   (“IMEI”) C35CX86RN6XM (the “SUBJECT DEVICE”), that was seized on

   February 20, 2021, and is currently in the custody of the Costa
   Mesa Police Department (“CMPD”) at its office in Costa Mesa,
   California, as described in Attachment A.

         5.   The requested search warrant seeks authorization to
   seize any data on the SUBJECT DEVICE that constitutes evidence
   or fruits of violations of Title 21, United States Code,
   Sections 841(a)(1) (Distribution and Possession with Intent to
   Distribute Controlled Substances) and 846 (Conspiracy to
   Distribute Controlled Substances) (the “Subject Offenses”), as
   described more fully in Attachment B.      Attachments A and B are
   incorporated herein by reference.




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         6.   The facts set forth in this affidavit are based upon
   my observations, my training and experience, and information
   obtained from other law enforcement agents, officers, and
   investigators, and witnesses.     This affidavit is intended to
   show merely that there is sufficient probable cause for the
   requested warrant and does not purport to set forth all my
   knowledge of or investigation into this matter.        Unless
   specifically indicated otherwise, all conversations and

   statements described in this affidavit are related in substance
   and in part only.
                       III. SUMMARY OF PROBABLE CAUSE

         7.   The DEA and the CMPD are investigating the drug
   overdose death of 18-year-old Amonie Palmer (“Palmer”).          On
   February 9, 2021, at 10:46 a.m., Palmer was found dead of an
   apparent drug overdose in the bathroom of her residence at the

   Harbor Dormitories of Orange Coast College (“Harbor
   Dormitories”), located at 1369 Adams Avenue, Room #3206, Costa
   Mesa, California 92626.     During the investigation into her

   death, Palmer’s roommate told investigators that Daniel H. KIM
   (“KIM”) was a drug dealer who was dating Palmer in the two weeks
   leading up to her death.     Based on the evidence obtained during
   the investigation, the DEA and CMPD believe that KIM supplied
   the drugs that resulted in the death of Palmer and evidence of
   this will be found in the SUBJECT DEVICE.
         8.   Furthermore, in the weeks following the death of
   Palmer, CMPD officers were called to the Harbor Dormitories

   regarding a disturbance involving KIM.      Upon encountering KIM,


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   CMPD Officers conducted a probation search of KIM’s person and
   found him to be in possession of drug paraphernalia.          Because
   this violated the terms of his probation, KIM was arrested and
   taken into custody by the CMPD.      During questioning, KIM
   consented to a search of the SUBJECT DEVICE where CMPD
   investigators uncovered text messages related to the acquisition
   and distribution of illicit drugs, predominantly in the Orange
   County area.

                     IV.   STATEMENT OF PROBABLE CAUSE

         9.    Based on my training and experience, as well as
   conversations with other agents, detectives, and officers
   involved in this investigation, I am aware of the following
   information related to this investigation.

         A.    Death of Amonie Palmer
         10.   On or about February 9, 2021, CMPD received a report
   that a woman had overdosed in Room #3206 of the Harbor

   Dormitories in Costa Mesa, California.      Upon arrival, responding
   officers discovered Palmer unresponsive, lying face-up on the
   bathroom floor.    The Costa Mesa Fire Department attended to
   Palmer who was later pronounced dead at 10:46 a.m.
         11.   CMPD investigators reviewed surveillance video, which
   showed Palmer and KIM walking around the Harbor Dormitories of
   Orange Coast Community College, where Palmer resided, on the

   night before her death.     In the surveillance footage, which I
   have reviewed, Palmer appeared to be under the influence of an

   unknown substance and was unsteady on her feet, seeming to
   require aid to walk down the corridors.      In the surveillance


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   video, at approximately 12:37 a.m. on February 9, 2021, KIM is
   seen leaving Palmer at her room, where she was later found dead
   of an apparent drug overdose.1

         12.   During the investigation, Daja Banks (“Banks”),
   roommate and cousin of Palmer, showed CMPD investigators
   Snapchat videos where KIM advertised the sale of illicit opiates
   such as Xanax and Percocet.     Banks stated that KIM had been

   distributing fentanyl, Percocet, and Xanax pills, predominantly
   to the students of Orange Coast Community College, and that KIM

   and Palmer were dating in the weeks preceding Palmer’s death.
         B.    Report of a Disturbance by KIM
         13.   On February 20, 2021, CMPD was again called to the
   Harbor Dormitories.    Upon arrival, CMPD made contact with the
   individual who called law enforcement.      The reporting party
   stated that KIM was shouting outside of their dorm room.           The
   reporting party further stated that KIM had a history of selling

   drugs, including fentanyl, and that he was in room #1228.           CMPD
   Officers knocked on the door at room #1228 and KIM answered and

   identified himself.    At the time, KIM was holding his cell
   phone, which was later determined to be the SUBJECT DEVICE.

   When KIM was asked to step outside to speak with the officers,
   he dropped the SUBJECT DEVICE on the floor inside the apartment.
         14.   Based on KIM’s probation status, which included search
   terms for his person and residence and was known by the officers
   based on a previously run records check, officers conducted a


        1 The toxicology report for Palmer’s death is currently
   pending.

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   probation compliance check on KIM.        Officer Ashby of the CMPD
   observed a “tooter” sticking out of KIM’s right-rear pants
   pocket.     I know, based on my training and experience, that a
   “tooter” is a straw used to inhale narcotics fumes -- usually
   off of tinfoil.     The possession of drug paraphernalia was in
   direct violation of KIM’s terms of probation, which the officers
   knew based on the review of his probation terms.
         15.    CMPD also conducted a probation search of the common

   area of KIM’s dormitory and his room.       Inside KIM’s bedroom,
   CMPD found an Altoids box containing a small clear plastic
   baggie containing what appeared to be 48 green Xanax bars, along
   with various other prescription drugs.2       The nightstand also
   contained a “tooter” with burnt drug residue.        None of the pills
   in the Altoids box had a corresponding prescription.          CMPD
   discovered several other pill bottles in KIM’s room that were

   prescribed to KIM and were contained in regular medicine
   bottles.     When asked about the pills in the Xanax bottle, KIM
   stated that the pills were prescribed to him.

         16.    KIM was then arrested for Possession of Unlawful Drug
   Paraphernalia, in violation of California Health and Safety Code
   § 11364(a) and Possession of Controlled Substances without a
   Prescription, in violation of California Business and
   Professions Code § 4060 and taken to the Costa Mesa Police
   Department for booking.     There, CMPD investigators read KIM his
   Miranda Warnings, which he waived verbally and agreed to speak
   with the investigators.

         2   Drug testing of the pills is currently pending.


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           17.   During the interview, KIM denied selling Xanax or
   drugs to anyone and denied having anything to do with Palmer’s
   death.    At one-point in the interview officers asked for consent
   from KIM to search the SUBJECT DEVICE.      KIM provided CMPD
   consent to search his phone and provided his passcode.          Although
   he denied selling drugs, KIM said he still gets “hit up” on his
   phone by his old friends for Percocet pills.
           18.   CMPD Officer Luczkiewicz reviewed the SUBJECT DEVICE,

   per KIM’s consent, and saw numerous text messages related to the
   acquisition and distribution of narcotics.      Message threads were
   uncovered between KIM and other buyers and narcotics
   distributors within the Orange County area.

           19.   For example, Officer Luczkiewicz observed the
   following conversation on the SUBJECT DEVICE, dated February 20,
   2021, between an unidentified narcotics purchaser known only as
   “RYAN” and KIM using the SUBJECT DEVICE:
                 a.   RYAN: Yo.
                 b.   KIM: U need more xans g? Im running low so hmu
   ASAP.

                 c.   RYAN: I need blues but I`m stuck at the crib.
                 d.   KIM: I gotchu.

           20.   Based on my training and experience, as well as my
   knowledge of this investigation, I know that the term “blues” is
   often used as a slang term for oxycodone or counterfeit
   oxycodone pills.     I further know that “xans” is a slang term for
   Xanax bars (a brand name of alprazolam) or counterfeit Xanax
   bars.    Both oxycodone and alprazolam are prescription-controlled


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   substances that are commonly abused and sold illegally.          Based
   on this, I believe in this text message conversation, KIM was
   attempting to sell “Ryan” Xanax bars or counterfeit Xanax bars
   and “Ryan” instead asks to purchase oxycodone or counterfeit
   oxycodone pills.
         21.    Officer Luczkiewicz also observed a Snapchat account
   linked to the SUBJECT DEVICE named “@lildshop” that appeared to
   be used by KIM to advertise the sale of controlled substances.

   Specifically, the following conversation took place over
   Snapchat on February 15, 2021, between KIM and a subject known
   only as “Danny”:
                a.   KIM: If you know anybody that needs real Xanax

   I’m on deck with the all day; You shoot me clients I’ll break
   you bread.
                b.   DANNY: Bet I’ll do share for share.
                c.   KIM: Bet bet.
         22.    Additionally, KIM had another conversation over
   Snapchat with Jared Lexa Allnut on February 20, 2021, which
   detailed the following transaction:

                a.   KIM: U need xans?
                b.   ALLNUT: yeah I’m trying to get money.

         23.    When confronted with text messages on his phone, KIM
   admitted to selling Xanax to people who had prescriptions.
         24.    Based on my training and experience, I believe that in
   the above Snapchat conversations, KIM told two people that he
   had Xanax available for sale.




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         C.    Additional Reports of KIM Selling Drugs at Orange
               Coast College
         25.   In the days following Palmer’s death, CMPD Detective
   Josef Saar documented two reports of KIM offering drugs to
   individuals at Orange Coast College.      On February 16, 2021, a
   student/resident reported to community assistants at the college
   that her roommate was spending time with KIM and she believed
   her roommate was on drugs.     In the report, the resident stated

   that KIM had offered pills to people on campus, including 18-
   year-old girls.
         26.   In another report, CMPD Detective Saar reported that
   on February 19, 2021, he received an email from Orange Coast

   College Community Assistant Katie Pratt, who reported that a
   student, while in KIM’s dorm room, observed KIM produce an
   Altoids container containing blue and green pills that the
   student recognized as Xanax.     KIM told the student that that the
   pills were “stronger” than normal and that the blue pills were
   “cut with fentanyl.”    The student said that she saw KIM’s
   Snapchat account, which showed the screenname of the individual

   that supplied drugs to KIM as “@yungfetti2k.”        Based on my
   training/experience, I know that “fetti” is a term used for

   fentanyl.   The student also told the community assistant that
   KIM’s Snapchat account was “@lildshop.”      The community assistant
   took photographs of the Snapchat accounts and then forwarded
   them to Detective Saar.
         27.   Based upon the above information, I believe there is
   probable cause that the charged offenses have been committed and


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   furthermore that evidence of their commission will be found on
   the SUBJECT DEVICE.
         V.    TRAINING AND EXPERIENCE REGARDING DRUG TRAFFICKING

         28.   Based upon my training, experience, knowledge of this
   investigation, and conversations with other experienced
   narcotics investigators, I know that drug traffickers often
   communicate with their criminal associates using telephones,
   cellular telephones, pre-paid telephones, and computers, and

   these digital devices often contain information such as contact
   numbers, messages, or other records that are relevant to the

   commission of criminal offenses.     Drug traffickers often use
   multiple phones to conduct their narcotics-related activities,
   to isolate drug suppliers from customers and associates and from
   other members of their drug trafficking organization.          Drug
   traffickers also often store evidence of their criminal activity
   on cellular phones, personal data assistants, or other digital
   devices, such as smart phones, in forms that may be as simple as

   customer lists or as elaborate as banking data tracking deposits

   from narcotics-related transactions.      In light of the universal
   popularity of hand-held electronic devices, narcotics

   traffickers often utilize them to generate, transfer, count,
   record and/or store all types of information relating to drug

   trafficking and any other illegal activities.        In particular,
   “smart” hand-held electronic devices, such as the device at
   issue in this affidavit, can be used to store data and send and
   receive data and messages.




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         29.    Drug traffickers often keep the names, addresses, and
   telephone numbers of their drug trafficking associates on their
   digital devices.     Drug traffickers often keep records of
   meetings with associates, customers, and suppliers on their
   digital devices, including in the form of calendar entries and
   location data.
               VI.   TRAINING AND EXPERIENCE ON DIGITAL DEVICES

         30.    As used herein, the term “digital device” includes the
   SUBJECT DEVICE.
         31.    Based on my training, experience, and information from
   those involved in the forensic examination of digital devices, I

   know that the following electronic evidence, inter alia, is
   often retrievable from digital devices:
                a.    Forensic methods may uncover electronic files or

   remnants of such files months or even years after the files have
   been downloaded, deleted, or viewed via the Internet.          Normally,
   when a person deletes a file on a computer, the data contained
   in the file does not disappear; rather, the data remain on the
   hard drive until overwritten by new data, which may only occur
   after a long period of time.     Similarly, files viewed on the
   Internet are often automatically downloaded into a temporary

   directory or cache that are only overwritten as they are
   replaced with more recently downloaded or viewed content and may

   also be recoverable months or years later.
                b.    Digital devices often contain electronic evidence

   related to a crime, the device’s user, or the existence of
   evidence in other locations, such as, how the device has been


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   used, what it has been used for, who has used it, and who has
   been responsible for creating or maintaining records, documents,
   programs, applications, and materials on the device.          That
   evidence is often stored in logs and other artifacts that are
   not kept in places where the user stores files, and in places
   where the user may be unaware of them.      For example, recoverable
   data can include evidence of deleted or edited files; recently
   used tasks and processes; online nicknames and passwords in the

   form of configuration data stored by browser, e-mail, and chat
   programs; attachment of other devices; times the device was in
   use; and file creation dates and sequence.
               c.    The absence of data on a digital device may be

   evidence of how the device was used, what it was used for, and
   who used it.     For example, showing the absence of certain
   software on a device may be necessary to rebut a claim that the
   device was being controlled remotely by such software.
               d.    Digital device users can also attempt to conceal
   data by using encryption, steganography, or by using misleading
   filenames and extensions.     Digital devices may also contain

   “booby traps” that destroy or alter data if certain procedures
   are not scrupulously followed.     Law enforcement continuously

   develops and acquires new methods of decryption, even for
   devices or data that cannot currently be decrypted.
         32.   Based on my training, experience, and information from
   those involved in the forensic examination of digital devices, I
   know that it can take a substantial period of time to search a
   digital device for many reasons, including the following:


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               a.   Digital data are particularly vulnerable to
   inadvertent or intentional modification or destruction.          Thus,

   often a controlled environment with specially trained personnel
   may be necessary to maintain the integrity of and to conduct a
   complete and accurate analysis of data on digital devices, which
   may take substantial time, particularly as to the categories of
   electronic evidence referenced above.
               b.   Digital devices capable of storing multiple
   gigabytes are now commonplace.     As an example of the amount of
   data this equates to, one gigabyte can store close to 19,000

   average file size (300kb) Word documents, or 614 photos with an
   average size of 1.5MB.
         33.   Other than what has been described herein, to my
   knowledge, the United States has not attempted to obtain this
   data by other means.

                               VII. CONCLUSION
         34.   Based on the aforementioned, I believe there is
   probable cause to believe that evidence, fruits, and
   instrumentalities of the Subject Offenses will be found on the
   SUBJECT DEVICE, as described in Attachment A.


   Attested to by the applicant in
   accordance with the requirements
   of Fed. R. Crim. P. 4.1 by
                     WK day of May
   telephone on this ____
   2021
     21.
     21
   2021.



   HONORABLE KAREN E. SCOTT
   UNITED STATES MAGISTRATE JUDGE



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